                                                     U.S. Department of Justice
[Type text]
                                                     United States Attorney
v                                                    Southern District of New York
                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                      August 14, 2020

BY ECF
The Honorable Vernon S. Broderick
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007

       Re:     United States v. Christopher Collins, et al., S1 18 Cr. 567 (VSB)

Dear Judge Broderick:

       We write in response to the Court’s August 6, 2020 Order directing the parties to provide additional
information about COVID-19-related restrictions and procedures related to defendants surrendering to FPC
Pensacola, where Mr. Collins has been designated to serve his sentence. The following information reflects
the Government’s current understanding in light of conversations with representatives of the Bureau of
Prisons (“BOP”). The BOP has requested that we emphasize that this information is subject to change
based upon the dictates of public health, local conditions in Florida, or the needs of the prison population.

        The BOP as a whole, and FPC Pensacola in particular, are currently operating under Phase 9 of the
BOP’s Coronavirus Action Plan (“Action Plan”). Under the Action Plan, each BOP instution is required to
designate specific quarantine and isolation areas with capacity sufficient to accomdate the expected
population. When a new prisoner arrives at the facility, the prisoner undergoes an initial COVID-19
screening. That screening includes a check for physical symptoms of the disease, a temperature check, and
a COVID-19 diagnostic test. Inmates who test positive or exhibit COVID-19 symptoms are immediately
placed in medical isolation until they meet CDC guidelines for integration into the prison population. New
inmates who test negative for the disease and exhibit no symptoms are placed into quarantine for 14 days.
During the 14-day quarantine period, inmates’ temperatures are checked daily and they are monitored for
other symptoms of COVID-19. At the end of the 14-day period, if an inmate has remained asymptomatic,
he is screened and tested again. If the inmate continues to test negative and has no other symptoms, he is
released into the general population.

         At FPC Pensacola, incoming prisoners are quarantined in D-Unit, a dormitory-style unit made up
of sleeping cubes surrounded by 6-foot-tall cinder block walls. Typically D-Unit houses 118 inmates.
There are eight sinks, eight showerheads, and eight toilets in the unit. Currently FPC Pensacola expects
that, at the time of Mr. Collins’s surrender, there will be two inmates already in quarantine and one arriving
the day after he does. Although additional inmates may enter D-Unit during Mr. Collins’s quarantine
period, there is sufficient space in the dormitory for each quaranting prisoner to have his own cinder-block
cube, to maintain social distance from other inmates, and to have his own sink and shower. Mask use is
required in common areas. Medical rounds are conducted at least twice a day, or more frequently if needed.
During the 14-day quarantine, prisoners do not have access to email or phones for social calls. Necessary
legal calls can be arranged with advance notice.
 August 14, 2020
 Page 2


        FPC Pensacola has reserved the Visting Room as the isolation facility for any prisoner who tests
positive form COVID-19 or exhibits symptoms. Additional rooms have been identified in the event more
than one prisoner must be isolated.

        Once a new inmate at FPC Pensacola clears quarantine, he is placed into the general population.
Currently the general population of FPC Pensacola consists of approximately 310 inmates, a significant
reduction from the pre-pandemic population of over 600 that has resulted from the BOP’s system-wide
efforts to reduce prisoner density. Within the general population, in order to minimize the possibility of
community transmission, all non-legal visits at FPC Pensacola are currently suspended. Inmates in the
general population do have access to email and telephones for social calls twice a week. Heightened
cleaning standards are in place, and inmates in the general population are issued multiple face masks and
encouraged to wear them in common areas. There is currently no lockdown in place, and inmates have
access to the library, recreation, and programming.

        Prisoners in the general population who exhibit symptoms of COVID-19 are immediately isolated
and tested. Additionally, BOP guidance dictates that prisoners be tested even when they do not display
symptoms if they have had contact with a staff member or inmate who has tested positive for the disease.
The BOP’s website indicates that, to date, 17 tests have been performed and no inmates have tested positive
for the disease. Five staff members have tested positive. Four have fully recovered and one is currently
self-isolating.



                                             Respectfully submitted,

                                             AUDREY STRAUSS
                                             Acting United States Attorney

                                     By:         /s/__________________________________
                                             Scott Hartman / Max Nicholas / Damian Williams
                                             Assistant United States Attorneys
                                             (212) 637-2357/1565/2298


                                             CHRISTOPHER COLLINS
                                             Defendant

                                     By:     ____/s/__________________________________
                                             Jonathan Barr, Esq. / Jonathan New, Esq.
                                             Kendall Wansgard, Esq.
                                             BakerHostetler LLP
                                             (212) 589-4650
